                        IN THE UNITED STATES DISTRICT COURT


                  FOR THE EASTERN DISTRCIT OF PENNSYLVANIA


Francis Boyd                                        :

            Plaintiff                               :   CIVIL ACTION NO.


                                                    :      20-CV-3058


      v.                                            :


Pennsylvania Department of Corrections,


Correct Care Solutions, Secretary Wetzel,       :


John Hochberg, Christopher Oppman,              :


Paul Noel, Joseph Silva, John Steinhart,        :


Cirillo, Dr. Lisiak, Brenda Houser, Nurse       :

Bushinski,Shirley Law-Smith, and Dr. Littles :


                                            :


               Defendants                           :


                         Plaintiff Boyd’s Amended Complaint
I. Introduction

              1. Plaintiff Francis Boyd filed a civil rights complaint June

                  18, 2020 alleging a violation of his Eighth Amendment

                  right to be free from cruel and unusual punishment i. e.

                  deliberate indifference to a serious medical need. The

                  Complaint was filed pro se pursuant to 42 U.S.C. 1983

                  and 28 USC 1331and 1343. The Court has supplemental

                  jurisdiction pursuant to 28 USC 1376 (a) to adjudicate

                  claims under Article 1, sec. 13 of the Pennsylvania

                  Constitution. Angus Love Esq. was appointed to the

                  case of Dec. 28, 2020. Plaintiff Boyd seeks to amend his

                  complaint without court approval pursuant to Federal

                  Rule of Civil Procedure 15 (a) (1) (A) to address concerns

                  in this Court’s order of Dec. 7, 2020. Plaintiff Boyd

                  incorporates by reference his initial complaint.




II. Parties

              2. Defendant Pennsylvania Department of Corrections (DOC) is an agency

                  of the Commonwealth of Pennsylvania that operates SCI Mahanoy and
     SCI Chester, among other correctional institutions. The principal office

     for the DOC is located in Mechanicsburg, Pennsylvania. The DOC is

     responsible for providing adequate medical health services to and

     creating policies that ensure appropriate medical treatment to Plaintiffs

     and those similarly situated.




3.   Defendant John Wetzel is the Secretary of the DOC. He is

     responsible for all the oversight, operation, and

     administration of the Commonwealth’s correctional

     system, including providing appropriate medical

     treatment and the formulation of policies that ensure

     the provision of that treatment to Plaintiff. He is sued in

     his official and individual capacities. At all relevant

     times, Defendant Wetzel has acted and will continue to

     act under color of state law.

4. Defendant Correct Care Solutions is the current health

     care provider for all DOC facilities. The principal office

     for Correct Care Solutions is in Nashville, Tennessee,

     and, on information and belief, maintains an office in

     Pennsylvania. Correct Care Solutions began providing
   health care services to the Pennsylvania DOC on

   September 1, 2014. At all relevant time, Correct Care

   Solutions has acted and will act under the color of state

   law.

5. On information and belief, Defendant John Hochberg is

   the Assistant Medical Director for Correct Care

   Solutions’ Regional Office, and is responsible for

   overseeing the delivery of medical services in DOC

   through Correct Care Solution’s Central Region,

   including SCI-Mahanoy. Defendant Hochberg is sued in

   his individual and official capacities, and at all relevant

   times has acted and will continue to act under color of

   state law.

6. Defendant Christopher H. Hoppman is the Director of

   the Bureau of Health Care Service of the DOC. The

   Bureau of Health Care Services is responsible for

   supervising and monitoring the delivery of all medical

   and dental care services throughout the state

   correctional system, which must be provided at a level
   consistent with community standards. He is also a

   member of the Hepatitis C committee. Defendant

   Oppman is sued in his individual and official capacities.

   At all relevant times, he has acted and will continue to

   act under color of state law.

7. On information and belief, Defendant Paul Noel is the

   Chief Medical Director of the DOC and has responsibility

   in overseeing the delivery of medical services in the

   DOC. Defendant Noel is sued in his individual and

   official capacities. He has acted and will continue to act

   under color of state law.

8. Defendant Joseph Silva is the Director of Bureau of

   Medical services and the Medical Director at SCI-

   Mahanoy and is responsible for providing health care to

   inmates there. He is a member of the Hepatitis C

   committee. He is sued in his official and individual

   capacities. At all relevant times, Defendant Silva has

   acted and will continue to act under color of state law.
9. Defendant John Steinhart is the Bureau of Corrections

   Health Care Administrator at SCI Mahanoy. Defendant

   Steinhart is sued in his individual and official capacities.

   At all relevant times, he has acted and will continue to

   act under color of state law.

10.Defendant Cerillo was the Bureau of Corrections Health

   Care Administrator at SCI Mahanoy prior to Steinhart. .

   Defendant Cerillo is sued in his individual and official

   capacities. At all relevant times, he has acted and will

   continue to act under color of state law.

11. Defendant Dr. Lisiak is the medical director at SCI

   Mahanoy is responsible for supervising and monitoring

   the delivery of all medical and dental care services at SCI

   Mahanoy which must be provided at a level consistent

   with community standards. Defendant Lisiak is sued in

   his individual and official capacities. At all relevant

   times, he has acted and will continue to act under color

   of state law.
12. Defendant Brenda Houser is a registered nurse and the

   Infections Control Nurse at SCI Mahanoy. Defendant

   Houser is sued in her individual and official capacities.

   She has acted and will continue to act under color of

   state law.

13. Defendant Bushinski is a registered nurse and the

   Infections Control Nurse at SCI Mahanoy. Defendant

   Bushinski is sued in her individual and official capacities.

   She has acted and will continue to act under color of

   state law.

14. Defendant Shirley Laws-Smith is the Bureau of

   Corrections Health Care Administrator at SCI Mahanoy.

   Defendant Laws-Smith is sued in her individual and

   official capacities. At all relevant times, she has acted

   and will continue to act under color of state law.

15. Defendant Dr. Littles is the medical director at SCI

   Chester and is responsible for supervising and

   monitoring the delivery of all medical and dental care

   services at SCI Chester which must be provided at a level
                            consistent with community standards. Defendant Littles

                            is sued in his individual and official capacities


III. Facts of the Case

      15. Hepatitis C is viral infection, primarily spread through contact with

infected blood that attacks the liver and causes hepatitis, or liver inflammation,

which can significantly impair the liver’s ability to assist the body in digesting

essential nutrients, filter toxins from the blood, and prevent disease.


      16. Hepatitis C infections are of multiple genotypes and can be of an acute

            or chronic nature. An acute infection, a short-term illness, occurs within

            the first six (6) months of exposure to the virus and, for many people, it

            leads to chronic Hepatitis C infection.

      17.      Chronic Hepatitis C infections are serious, long-term illnesses that

can last throughout a person’s life. Hepatitis C is the leading cause of cirrhosis

(irreversible scarring of liver tissue) and liver cancer and is the most common

cause of liver transplants. Chronic Hepatitis C infection can also cause serious

chronic liver disease, liver fibrosis (scarring of liver tissue), and death.
      18.    Cirrhosis of the liver can cause symptoms such as swelling, increased

likelihood of bruising, jaundice, itching, nausea, and problems with concentration

and memory.

      Hepatitis C infections occur upon transmission of blood from a person

      infected with Hepatitis C to another person. The major means of

      transmission


       20. Hepatitis C infections occur upon transmission of blood form a person

infected with Hepatitis C to another person. The major means of transmission are

the sharing of equipment for injecting drugs; tattooing or piercing; through

needle-stick injuries; being born to a mother with Hepatitis C; transfusion with

infected blood or blood products; and by sexual contact with a person infected

with Hepatitis C.

       21. Each day without treatment increases the likelihood of cirrhosis,

fibrosis, liver cancer, the need for a liver transplant, complications from the

disease, and death from liver failure due to chronic Hepatitis C infection.

       22. Liver transplants are painful, carry a risk of significant complications,

and are nearly impossible for prisoners to obtain. Transplants result in lower

recovery rates than treatment with direct-acting antiviral drugs, and transplants

are very costly.
      25 .For many years, findings and establishing an effective and safe

      treatment for Hepatitis C infections was an elusive goal. The standard of

      care failed to cure large cure large numbers of patients and was associated

      with painful and other adverse side-effects, including psychiatric and

      autoimmune disorders, flulike symptoms, and gastrointestinal distress.

      26. Since 2011, the approval by the Federal Drug Administration (FDA) of

            new direct-acting antiviral drugs (DAAD) has greatly improved the

            treatment module for Hepatitis C infections.

      27. In 2011, the FDA approved the use of protease inhibitors called

            boceprevir (under brand name Vicrtrelis) and telaprevir (under brand

            name Incivek), and the standard of care developed into a “triple

            therapy” to include the combination of either boceprevir or telaprevir,

            plus ribavirin and interferon. The triple therapy improved results for

            many patients, but continued to contain painful and adverse side

            effects.

      28.      In 2013, the FDA approved DAAD medications called simeprevir

(under brand name Olysio) and sofosbuvir (under brand names Sovaldi). At this

time, the recommended treatment was DAAD such as Solvadi combined with
ribavirin, or with interferon, depending on the patient’s other symptoms and

medical diagnoses.

      29.     In late 2014, the FDA approved the use of Sovaldi in combination

with Olsyio for the treatment of Hepatitis C.

      30.     On October 10, 2014, the FDA specifically approved Harvoni, a pill

that is taken once a day and combines sofosbuvir and ledipasvir.

      31.     Harvoni eliminates the need for the patient to take interferon and/or

ribavirin, which were largely responsible for the adverse and difficult side-effects

of treating Hepatitis C.

      32.     Simeprevir, sofosbuvir, and Harvoni have few side effects, greater

efficacy, can reduce treatment durations by 75 percent, and are administered

orally rather than by injections.

      33.     The new treatment modules utilizing these DAAD have very high cure

rates (over 90% of patients treated for Solvaldi and over 95% for Harvoni), have

fewer and far less serious side-effects than the previous treatment modules, and

involve a far shorter treatment time (12-24 weeks)

      34. The standard of care in the community for Hepatitis C infections—the

            use of DAAD—is now well-established. The CDC has recommended

            these new treatment modules and the Federal Bureau of Prisons (BOP),
   in 2014, adopted new Clinical Practice Guidelines in 2014 that

   incorporate these new DAAD treatment modules. Under the CDC and

   the BOP guidelines, the recommended treatment depends further upon

   the particularized genotype, the acute or chronic status of the disease,

   and prior attempts to treat the patient’s Hepatitis C infection.

35. Prior to the settlement of the Chimenti v. Pa DOC case in 2019,

   Defendant Wetzel and others have not implemented treatment policies

   or provided medical treatment for Hepatitis C infections consistent with

   current medical and community standards and specifically have not

   authorized treatment with the effective direct-acting antiviral drugs.

36. On information and belief, Defendant Wetzel and others have ceased

   providing any treatment to inmates with Hepatitis C infections, including

   the combination therapy of interferon and ribavirin, or the triple

   therapy of boceprevir/telaprevir with interferon and ribavirin until 2019.

37. Contrary to the proper and necessary medical procedures and the

   community standard of care, Defendants have denied requests by

   Plaintiff Boyd for the appropriate and medically necessary direct-acting

   antiviral treatment for their Hepatitis C infections.
38. Individuals such as Plaintiff Boyd seeking medical treatment for their

   Hepatitis C infections have merely been informed that the “DOC/BHCS is

   revaluating [their] treatment protocol for Hepatitis C given the new

   guidance issued by the American Association of Liver Diseases (AASLD)

   and the Infectious Diseases Society of American (IDSA).”

39. As a consequence of this policy, Plaintiff has a substantially increased

   risk of continued Hepatitis C infection, liver disease, liver cancer,

   cirrhosis, and death.

40. From 2011 Plaintiff Boyd filed 18 Inmate Request to Staff Members at

   SCI’s Mahanoy and Chester, three Grievances and two letters to various

   defendants seeking treatment for Hepatitis C and the new drug

   treatment that was available and was told he didn’t fit the criteria for

   treatment. [See Boyd pro se complaint -paragraphs 5-39 (F)-

   incorporated by reference]


41. As a result of the failure to treat Boyd until 2020, he suffered

irreparable harm and considerable damage to his liver, contracted cirrhosis

and fibrosis of the liver as well as considerable pain and suffering
       42. All efforts to obtain the new drug treatment regime failed until 2019

when Boyd complained about a pain on his right side and demanded a liver

function test which indicated he had F4 cirrhosis and he was included in terms of

the settlement agreement in the Chimenti v. Pa. DOC, C.A. No. 15-CV-3333 [J.

Padova] case.


43. Plaintiff Boyd was examined by Dr. Little on Jan. 27, 2021 who said his macro

globin was up to 298 HI and 110-276 mg./dl because of cirrhosis and he had a

lesion on his liver.


IV. Cause of Action


      43. Plaintiff Boyd’s right to be free from cruel and unusual punishment as

guaranteed by the Eighth Amendment to the United States Constitution were

violated by all Defendants who were deliberately indifferent to his medical needs

by enforcing and continue to enforce the DOC’s flawed Hepatitis C infection

treatment policy. The enforcement of this policy constitutes a deliberate

indifference to the serious medical needs of prisoners infected with Hepatitis C.


44. Defendants policies and practices constitute negligence to Plaintiff Boyd’s

serious medical condition establishing medical malpractice under the laws of the

Commonwealth of Pennsylvania
V. Relief


     44. Compensatory and punitive damages from all defendants


    45 Reasonable Attorney’s fees and costs

    46. Such other relief the Court deems necessary and just




Respectfully Submitted,




___Angus Love__/s/




                              Angus R. Love



                              Attorney ID No. 22392



                              Law Offices of Angus Love



                              P.O. Box 521



                              Narberth, Pa. 19072
        215-435-6345



        Attorney for Plaintiff



DATE:
